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 6 United States of America

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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. Cr 1:12-cr-00038 AWI-
                                                           BAM
12                                Plaintiff,
                                                           STIPULATION REGARDING
13   v.                                                    VACATING TRIAL DATE; ORDER
14   DAMONE KELLEY,
15
                                  Defendant.
16

17                                             STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by
19 and through his counsel of record, hereby stipulate as follows:
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            1.     By previous order, this matter was set for a change of plea on August 26, 2013, at 10
21
                   a.m. The parties have signed and filed a plea agreement. Counsel Carl Faller is not
22
                   available until August 26 for the change of plea.
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24          2.     The parties anticipate a change of plea on August 26; however, out of an abundance

25                 of caution, the parties agree to vacate the trial date of September 10, 2013, to avoid

26                 the expenditure of resources. Further, an essential government witness who must
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                   travel from Alabama is unavailable due to a medical condition.
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                           IT IS SO STIPULATED.
 1

 2 DATED:                        August 6, 2013.   Respectfully submitted,
 3                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 4

 5                                                 /s/ Karen A. Escobar___________________
                                                   KAREN A. ESCOBAR
 6                                                 Assistant United States Attorney
 7
     DATED:                      August 6, 2013.
 8
 9                                                 /s/ Carl M. Faller _____________
                                                   CARL M. FALLER
10                                                 Counsel for Defendant Damone Kelley
11

12                                                        ORDER
13
     IT IS SO ORDERED.
14

15 Dated: August 6, 2013
     DEAC_Signature-END:
                                                         SENIOR DISTRICT JUDGE
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     0m8i788
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